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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,      §
      Plaintiffs,                        §
                                         §
v.                                       §   Case No. 5:21-cv-844-XR
                                         §
GREGORY W. ABBOTT, et al.,               §
     Defendants.                         §
OCA-GREATER HOUSTON, et al.,             §
     Plaintiffs,                         §
                                         §
v.                                       §
                                             Case No. 1:21-cv-780-XR
                                         §
JOSE A. ESPARZA, et al,.                 §
       Defendants.                       §

HOUSTON JUSTICE, et al.,                 §
     Plaintiffs,                         §
                                         §
v.                                       §
                                             Case No. 5:21-cv-848-XR
                                         §
GREGORY WAYNE ABBOTT, et al.,            §
     Defendants.                         §

LULAC TEXAS, et al.,                     §
     Plaintiffs,                         §
                                         §
v.                                       §
                                             Case No. 1:21-cv-0786-XR
                                         §
JOSE ESPARZA, et al.,                    §
       Defendants.                       §

MI FAMILIA VOTA, et al.,                 §
      Plaintiffs,                        §
                                         §
v.                                       §
                                             Case No. 5:21-cv-0920-XR
                                         §
GREG ABBOTT, et al.,                     §
      Defendants.                        §
                                         §




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 UNITED STATES OF AMERICA,                       §
              Plaintiff,                         §
                                                 §
 v.                                              §
                                                       Case No. 5:21-cv-1085-XR
                                                 §
 THE STATE OF TEXAS, ET AL.,                     §
              Defendants                         §



        THE ATTORNEY GENERAL’S OBJECTIONS AND RESPONSES TO
       PRIVATE PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION

TO:    The LUPE Plaintiffs, by and through their attorney of record, Nina Perales, Mexican
       American Legal Defense and Education Fund, 110 Broadway, Suite 300, San Antonio, TX
       78205; The OCA-Greater Houston Plaintiffs, by and through their attorney of record, Ryan
       V. Cox, Texas Civil Rights Project, 1405 Montopolis Drive, Austin, TX 78741; The Houston
       Justice Plaintiffs, by and through their attorney of record, Sarah M. Cummings, Reed Smith
       LLP, 2850 N. Harwood Street, Suite 1500, Dallas, TX 75201; The LULAC Plaintiffs, by and
       through their attorney of record, John R. Hardin, Perkins Coie LLP, 500 North Akard Street,
       Suite 3300, Dallas, Texas 75201-3347; and The Mi Familia Vota Plaintiffs, by and through
       their counsel of record, Sean Lyons, Lyons & Lyons, P.C., 237 W. Travis Street, Suite 100, San
       Antonio, Texas 78205; the United States, by and through its attorney of record, Daniel J.
       Freeman, Civil Rights Division, U.S. Department of Justice, 950 Pennsylvania Ave, NW,
       Washington, DC 20530.

       Defendant W. Kenneth Paxton (“Defendant”) in his official capacity as the Texas Attorney

General, hereby serves his Objections and Responses to the Private Plaintiffs’ First Set of Requests

for Production, pursuant to the Federal Rules of Civil Procedure.

Date: December 29, 2021                        Respectfully submitted.

KEN PAXTON                                     /s/ Patrick K. Sweeten
Attorney General of Texas                      PATRICK K. SWEETEN
                                               Deputy Attorney General for Special Litigation
BRENT WEBSTER                                  Tex. State Bar No. 00798537
First Assistant Attorney General
                                               WILLIAM T. THOMPSON
                                               Deputy Chief, Special Litigation Unit
                                               Tex. State Bar No. 24088531

                                               ERIC A. HUDSON
                                               Senior Special Counsel
                                               Tex. Bar No. 24059977


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                                               KATHLEEN T. HUNKER
                                               Special Counsel
                                               Tex. State Bar No. 24118415
                                               *Application for Admission Pending

                                               LEIF A. OLSON
                                               Special Counsel
                                               Tex. State Bar No. 24032801

                                               JEFFREY M. WHITE
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                                               Tex. State Bar No. 24064380

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                                               Counsel for the Texas Attorney General


                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of December, 2021, the attached the Attorney General’s
Objections and Responses to Private Plaintiffs’ First Request for Production of Documents was
served on opposing counsel via electronic mail.

                                               /s/ Patrick K. Sweeten
                                               PATRICK K. SWEETEN
                                               Deputy Attorney General for Special Litigation




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                          OBJECTIONS RELEVANT TO EACH REQUEST

        Defendant asserts that each of the following objections applies specifically to each request. In

the interest of brevity, these objections are offered here to avoid unnecessary repetition of objections

to definitions, scope, and similar issues that afflict each request below. These objections are as follows:

        Defendant objects to each discovery request to the extent that it: (1) calls for the production

of documents that are publicly available or otherwise uniquely or equally available from third parties;

(2) calls for the production of documents that are not proportional to the needs of this case; and (3)

calls for the production of documents that are irrelevant to the subject matter of this litigation.

        Under Rule 26(b)(1), the proper scope of discovery is limited to “any nonprivileged matter

that is relevant to any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ.

P. 26(b)(1) (2015). Among the considerations that are germane to that inquiry are “the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or expense

of the proposed discovery outweighs its likely benefit.” Id. The twin demands for relevancy and

proportionality “are related but distinct requirements.” Samsung Electronics Am., Inc. v. Chung, 321 F.R.D.

250, 279 (N.D. Tex. 2017). Thus, if the information sought is irrelevant to the party’s claims or

defenses, “it is not necessary to determine whether it would be proportional if it were relevant.” Walker

v. Pioneer Prod. Servs., Inc., No. CV 15-0645, 2016 WL 1244510, at *3 (E.D. La. Mar. 30, 2016).

Conversely, “relevance alone does not translate into automatic discoverability” because “[a]n

assessment of proportionality is essential.” Motorola Sols., Inc. v. Hytera Commc’ns Corp., 365 F. Supp. 3d

916, 924 (N.D. Ill. 2019). Accordingly, Defendant objects to these requests to the extent that the

information sought is either irrelevant or disproportionate.

        First, much of the production being sought is not “relevant to any party’s claim or defense”

in this case. The Private Plaintiffs challenge specific provisions within Senate Bill 1 (“SB1”). Many of

the production requests, however, concern “election administration” generally, which effectively

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encompasses every action that the State of Texas, including the Office of the Attorney General of

Texas (“OAG”), and/or local election official takes pursuant to the Texas Election Code. See, e.g., RFP

Nos. 13, 15, and 17. Additionally, the Private Plaintiffs request OAG to produce any document and/or

communication about SB1, SB7, HB3, or HB6, regardless of whether the subject of that document

and/or communication bears on the issues raised in the Private Plaintiffs’ legal action. The Private

Plaintiffs, again, make no effort to limit their requests to the provisions of SB1 challenged in their live

pleadings.

          Second, large amounts of the requested production are not “proportional to the needs of the

case.” This language was inserted into Rule 26(b) in 2015 “to emphasize the need for proportionality,”

Prasad v. George Washington Univ., 323 F.R.D. 88, 91 (D.D.C. 2017), and “highlight[] its significance,”

Mannina v. D.C., 334 F.R.D. 336, 339 n.4 (D.D.C. 2020); see also Chief Justice John Roberts, 2015 Year-

End Report on the Federal Judiciary at 6, Supreme Court of the United States, 1 (“Rule 26(b)(1)

crystalizes the concept of reasonable limits on discovery through increased reliance on the common-

sense concept of proportionality[.]”). As the Advisory Committee explained, this addition of overt

“proportional” language was meant to better reflect the intent of the 1983 amendments, which were

designed “to deal with the problem of over-discovery.” Fed. R. Civ. P. 26(b) advisory committee’s

note (2015) (quoting the 1983 advisory notes). However, this “clear focus of the 1983 provisions may

have been softened, although inadvertently, by the amendments made in 1993.” Id. Thus, the 2015

amendment sought to “restore[] the proportionality factors to their original place in defining the scope

of discovery” and reinforce the parties’ obligation “to consider these factors in making discovery

requests, responses, or objections.” Id. As fully restored, the proportionality requirement “relieves

parties from the burden of taking unreasonable steps to ferret out every relevant document.” Virginia



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    https://www.supremecourt.gov/publicinfo/year-end/2015year-endreport.pdf

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Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019), cert. denied, 140 S. Ct. 672 (2019). Accordingly,

Defendant objects to the Private Plaintiffs’ Requests for Production to the extent that these requests

fall short of this more stringent proportionality standard.

        Furthermore, Defendant objects to Private Plaintiffs’ definitions of the terms “you,” “your,”

and “Attorney General,” and to the names of specific individuals to the extent they attempt to impose

rules or requirements that are inconsistent with the Federal Rules of Civil Procedure. Defendant is

responding with information known to, or within the possession, custody, or control of Defendant.

Defendant is not responding for other agencies, boards, bureaus, commissions, or other independent

executive or legislative departments of the State of Texas. Defendant objects to the requests for

production, definitions, and instructions to the extent they extend to non-parties, or require Defendant

to answer for non-parties. Accordingly, Defendant objects to all requests with the terms “you,”

“your,” and “Attorney General” as overbroad, unduly burdensome, and not calculated to lead to

admissible evidence.

        Defendant has endeavored to identify all divisions and staff within the Texas Attorney

General’s Office with information responsive to the Requests so that specific and focused objections

and responses may be included in this response. Defendant objects to Private Plaintiffs’ definition of

“you,” “your,” and “Attorney General” to the extent that it seeks to impose burdens beyond the

Federal Rules of Civil Procedure. Defendant further objects to Private Plaintiffs’ definition of “you,”

“your,” and “Attorney General” as overly broad, ambiguous, and not reasonably calculated to lead to

the discovery of admissible evidence. The Office of the Attorney General has over 4,000 employees,

thousands of whom are uninvolved with this matter. Moreover, this lawsuit concerns enforcement

attorneys and investigators for OAG acting in an official governmental capacity. Defendant responds

for enforcement attorneys and investigators in this matter, their immediate superiors, and those at

OAG who may have information requested that could even possibly be reasonably calculated to lead


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to the discovery of admissible evidence. Specifically, Defendant objects except as to production from

the following: enforcement investigators for OAG who handle election integrity matters, those

enforcement attorneys for OAG who are counsel in this matter, and the Government Relations

Division. Defendant objects to all of Private Plaintiffs’ requests to the extent that they call for

information from groups beyond those specifically listed above as producing information. To the

extent that they go beyond that scope, Private Plaintiffs’ requests are overbroad, ambiguous, vague,

harassing, and not reasonably calculated to lead to the discovery of admissible evidence.

        The inadvertent production or disclosure of any privileged documents or information shall

not constitute or be deemed to be a waiver of any applicable privilege with respect to such document

or information (or the contents or subject matter thereof) or with respect to any other such document

or discovery now or hereafter requested or provided. Defendant reserves the right not to produce

documents that are in part protected by privilege, except on a redacted basis, and to require the return

of any document (and all copies thereof) inadvertently produced. Defendant likewise does not waive

the right to object, on any and all grounds, to (1) the evidentiary use of documents produced in

response to these requests; and (2) discovery requests relating to those documents.

        These responses and objections are made without waiving any further objections to, or

admitting the relevancy or materiality of, any of the information or documents requested. All answers

are given without prejudice to Defendant’s right to introduce or object to the discovery of any

documents, facts, or information discovered after the date hereof. Likewise, these responses and

objections are not intended to be, and shall not be construed as, agreement with the Private Plaintiffs’

characterization of any facts, circumstances, or legal obligations. Defendant reserves the right to

contest any such characterization as inaccurate and object to the Requests insofar as they contain any

express or implied assumptions of fact or law concerning matters at issue in this litigation.




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       Defendant will provide his responses based on terms as they are commonly understood and

consistent with the Federal Rules of Civil Procedure. Defendant objects to and will refrain from

extending or modifying any words employed in the Requests to comport with any expanded

definitions or instructions. Defendant will answer the Requests to the extent required by the Federal

Rules of Civil Procedure and the Local Rules of the Western District of Texas.




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        SPECIFIC OBJECTIONS AND RESPONSES TO PRIVATE PLAINTIFFS’
                  FIRST SET OF REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All documents and communications regarding any
rationale(s) for drafting or enacting SB 1, SB 7, HB 3, or HB 6.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, not reasonably specific, and unduly burdensome. To that end,
Defendant incorporates its general objection concerning the scope of these requests. OAG employs
over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction of whom have
job responsibilities that relate in any way to the subject matter of this request, and thus, OAG will
conduct a search limited to OAG employees identified in the general objections above.

         Additionally, Defendant objects to this request because it seeks irrelevant documents and
communications. The Private Plaintiffs do not challenge any provision of SB7, HB3, or HB6, and
challenge only a limited set of provisions of SB1, yet the request asks OAG to produce any document
and communication about the rationale for drafting or enacting SB1, SB7, HB3, or HB6, regardless
of whether it relates to provision that it challenged through the underlying suit. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege, making the request unduly burdensome. The burden of conducting this
examination far exceeds the benefit, especially since much of the information Private Plaintiffs seeks
is either publicly available or more readily attainable from other parties to this litigation.

        Defendant also objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represent the Texas Governor, the Texas Secretary
of State, and the Texas Attorney General (“State Defendants”) in this consolidated legal action, as
well as multiple Texas Legislators who have received Rule 45 subpoenas and have requested
representation. Attorneys within OAG also provide legal advice to state agencies and lawmakers when
requested. Any communications made pursuant to that representation would be privileged.

        Defendant objects to this request to the extent that it calls for the production of documents
within the control of third parties, including independent officers of the State of Texas, who may or
may not be parties to this litigation and whose documents, communications, and deliberations are not
within Defendant’s custody, possession, or control. Finally, Defendant objects to this request to the
extent that it encompasses documents publicly available or otherwise equally accessible to Plaintiffs.

        Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be


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identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 2: All documents and communications regarding the
implementation or enforcement of SB 1, SB 7, HB 3, or HB 6.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, not reasonably specific, and unduly burdensome. To that end,
Defendant incorporates its general objection concerning the scope of these requests. OAG employs
over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction of whom have
job responsibilities that relate in any way to the subject matter of this request, and thus, OAG will
conduct a search limited to OAG employees identified in the general objections above.

         Additionally, Defendant objects to this request because it seeks irrelevant documents and
communications. The Private Plaintiffs do not challenge any provision of SB7, HB3, or HB6, and
challenge only a limited set of provisions of SB1, yet the request asks OAG to produce any document
and communication about the rationale for drafting or enacting SB1, SB7, HB3, or HB6, regardless
of whether it relates to provision that it challenged through the underlying suit. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege, making the request unduly burdensome. The burden of conducting this
examination far exceeds the benefit, especially since much of the information Private Plaintiffs seeks
is either publicly available or more readily attainable from other parties to this litigation.

        Defendant further objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who may or may not be parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, OAG’s involvement with the enforcement and
implementation of SB1 is limited to specific provisions and is additionally qualified by the recent
decision State v. Stephens, PD-1032-20, 2021 WL 5917198, at *4 (Tex. Crim. App. Dec. 15, 2021).
What’s more, SB7, HB3, or HB6 were not enacted into law. OAG therefore has not developed any
protocols or taken any action to implement or enforce these bills, such as an investigation or
prosecution. As such, this request is not proportionate to the needs of the case. It is outside the scope
of discovery, and it seeks information that either does not exist or is not within Defendant’s
possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated
legal action, as well as multiple Texas Legislators who have received Rule 45 subpoenas and have
requested representation. Attorneys within OAG also provide legal advice to state agencies and
lawmakers when requested. Any communications made pursuant to that representation would be
privileged.
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         Additionally, in accordance with the Texas Election Code, if, after receiving or discovering
information about alleged criminal conduct in connection with an election, the Texas Secretary of
State (“Texas SOS”) determines that there is reasonable cause to suspect that criminal conduct
occurred, Texas SOS shall refer the complaint to OAG for further investigation. See, e.g. § 31.006.
OAG then makes decision whether or not pursue criminal charges in conjunction with the local
prosecutor. The release of non-public information related to these files would invariably reveal the
identity of suspects, witnesses, and reporting parties, thereby compromising ongoing investigation.
The release of this information also bears the risk compromising future investigations to the extent it
reveals law enforcement’s methods and tactics for detecting and investigating election fraud offenses.
Defendant therefore considers any documents related to investigative and prosecution case files to be
privileged, unduly burdensome, and not proportional to the needs of the case.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 3: All documents and communications regarding voter
turnout, including patterns of voter turnout by racial or ethnic minorities, disabled persons, and
partisan affiliation during the 2020 primary and general elections.

RESPONSE:

         Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant incorporates its general objection concerning the scope
of these requests. OAG employs over 4,000 employees in 38 divisions and 117 offices around Texas,
only tiny fraction of whom have job responsibilities that relate in any way to the subject matter of this
request. Without additional parameters, the request would require Defendant, and later counsel, to
search, identify, and review voluminous emails and documents unrelated to the underlying controversy
to determine responsiveness and privilege. The burden of conducting this examination far exceeds the
benefit, especially since much of the information Private Plaintiffs seeks is either publicly available or
more readily attainable from other parties to this litigation.

         Defendant further objects to the request for “All documents and communications regarding
voter turnout” sweeps far too broadly, and thus, is vague, overly broad, and unduly burdensome.
Requesting “all documents” related to voter turnout is not sufficiently specific to determine what
would be potentially responsive or assess the burdens of collecting and producing any such
information. Moreover, much of the requested information is not relevant to any claims or defenses
in this case. Plaintiffs have filed suit over select portions of SB1, not the entirety of the changes.

        Defendant also objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who may or may not be parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
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control. As explained throughout this litigation, OAG has only limited enforcement authority under
the Election Code, which is further qualified by the recent decision. Stephens, 2021 WL 5917198, at *4.
As such, OAG does not conduct independent assessments regarding voter turnout. What’s more, the
State of Texas neither requests nor records a voter’s party affiliation during the registration process.
Voters instead typically affiliate with a party by being accepted to vote in a party’s primary election.
Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of each calendar year.
Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs of the case. It is
outside the scope of discovery, and it seeks information that either does not exist or is not within
Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated
legal action, as well as multiple Texas Legislators who have received Rule 45 subpoenas and have
requested representation. Attorneys within OAG also provide legal advice to state agencies and
lawmakers when requested. Any communications made pursuant to that representation would be
privileged.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 4: All documents and communications regarding the
impact or potential impact of SB 1, SB 7, HB 3, or HB 6 on particular demographics, including but
not limited to racial or ethnic minorities, disabled persons, and party affiliation.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant incorporates its general objection concerning the scope
of these requests. OAG employs over 4,000 employees in 38 divisions and 117 offices around Texas,
only tiny fraction of whom have job responsibilities that relate in any way to the subject matter of this
request. In addition, Defendant objects to this request to the extent it seeks irrelevant documents
and/or communications. The Private Plaintiffs only challenge a limited set of provisions in SB1, yet
the request asks OAG to produce any document and/or communication about the impact of SB1,
SB7, HB3, or HB6, regardless of whether impact stems from a challenged provision. Without
additional parameters, the request would require Defendant, and later counsel, to search, identify, and
review voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege. The burden of conducting this examination far exceeds the benefit,
especially since the Private Plaintiffs indicate in the request that their inquiry is directed at a much
narrower subset of information.


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        Defendant further objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who are not parties to this litigation and whose documents,
communications, and deliberations are not within Defendant’s custody, possession, or control. As
explained throughout this litigation, OAG has only limited enforcement authority under SB1 and the
Election Code more generally, which is further qualified by the recent decision Stephens, 2021 WL
5917198, at *4. As such, OAG does not conduct independent assessments regarding the impact or
potential impact of enacted or proposed legislation on specific demographics. What’s more, the State
of Texas neither requests nor records a voter’s party affiliation during the registration process. Voters
instead typically affiliate with a party by being accepted to vote in a party’s primary election. Tex. Elec.
Code § 162.003. That affiliation then automatically expires at the end of each calendar year. Tex. Elec.
Code § 162.010. As such, this request is not proportionate to the needs of the case. It is outside the
scope of discovery, and it seeks information that either does not exist or is not within Defendant’s
possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represents State Defendants in this consolidated legal
action, as well as multiple Texas Legislators who have received Rule 45 subpoenas and have requested
representation. Attorneys within OAG also provide legal advice to state agencies and lawmakers when
requested. Any communications made pursuant to that representation would be privileged.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 5: All documents and communications regarding usage of
the following methods of voting by racial or ethnic minorities and disabled persons, or by party
affiliation, during the period from 2016 to present:

        (a) Drop-box voting;
        (b) Drive-thru voting;
        (c) 24-hour voting;
        (d) Straight-ticket voting;
        (e) Vote-by-mail;
        (f) Early voting;
        (g) Curbside voting;
        (h) All other methods of voting.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
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ambiguous, vague, and unduly burdensome. For example, as noted above in responses in the general
objections concerning the scope of the requests and the objection to the definition of “Attorney
General,” this request on its face would require Defendant to search and examine any and all emails
directed to or from an OAG employee.

        Defendant also objects to the catchall term “all other methods of voting” as not only being
vague, ambiguous, and overly broad, but also lacking specificity. Without additional limits, the request
would require Defendant, and later counsel, to search, identify, and review voluminous emails and
documents unrelated to the underlying controversy. Because the Plaintiffs do not challenge “all
methods of voting,” but rather specific provisions of SB1, the burden of conducting the request far
exceeds the benefit, especially since much of the information Private Plaintiffs seeks is either publicly
available or more readily attainable from other parties to this litigation.

          Defendant further objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who are not parties to this litigation and whose documents,
communications, and deliberations are not within Defendant’s custody, possession, or control. As
explained throughout this litigation, OAG has only limited enforcement authority under the Election
Code, which is further qualified by the recent decision Stephens, 2021 WL 5917198, at *4. As such,
OAG does not conduct independent assessments regarding usage of voting methods by specific
demographic groups. What’s more, the State of Texas neither requests nor records a voter’s party
affiliation during the registration process. Voters instead typically affiliate with a party by being
accepted to vote in a party’s primary election. Tex. Elec. Code § 162.003. That affiliation then
automatically expires at the end of each calendar year. Tex. Elec. Code § 162.010. As such, this request
is not proportionate to the needs of the case. It is outside the scope of discovery, and it seeks
information that either does not exist or is not within Defendant’s possession, custody, or control.

        Defendant also objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated
legal action, as well as multiple Texas Legislators who have received Rule 45 subpoenas and have
requested representation. Attorneys within OAG also provide legal advice to state agencies and
lawmakers when requested. Any communications made pursuant to that representation would be
privileged.

        Additionally, in accordance with the Texas Election Code, if, after receiving or discovering
information about alleged criminal conduct in connection with an election, the Texas SOS determines
that there is reasonable cause to suspect that criminal conduct occurred, Texas SOS shall refer the
complaint to OAG for further investigation. See, e.g. § 31.006. OAG then makes decision whether or
not pursue criminal charges in conjunction with the local prosecutor. The release of non-public
information related to these files would invariably reveal the identity of suspects, witnesses, and
reporting parties, thereby compromising ongoing investigation. The release of this information also
bears the risk compromising future investigations to the extent it reveals law enforcement’s methods
and tactics for detecting and investigating election fraud offenses. Defendant therefore considers any
documents related to its investigative and prosecution case files to be privileged, unduly burdensome,
and not proportional to the needs of the case.
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         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 6: All documents and communications regarding voter
assistance, including transportation assistance and vote harvesting, and patterns of requests for voter
assistance by race, ethnicity, disability status, or party affiliation during the period from 2016 to
present.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant incorporates its general objection concerning the scope
of these requests. Defendant objects to this request to the extent that it requires Defendant to search
and examine any and all emails directed to or from an OAG employee. OAG employs over 4,000
employees in 38 divisions and 117 offices around Texas, only tiny fraction of whom have job
responsibilities that relate in any way to the subject matter of this request. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege. The burden of conducting this examination thus far exceeds the benefit.

         Defendant further objects to the request for “All documents and communications regarding
voter assistance, as vague, unintelligible, overly broad, and unduly burdensome. Additionally, it calls
for the production of materials that are irrelevant to any challenge raised in this case. For example,
Texas Elections Code §§ 64.032, -.0321, -.033, and -.035, which were not amended by SB1, concern
voting assistance, yet those provision are not at issue in this litigation. Defendant objects that review
and production of all documents and communications regarding voter assistance, without limitation, will
necessarily require a search for and review of materials that do not bear any relationship to the issues
in this case.

         Defendant further objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who may or may not be parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, OAG has only limited enforcement authority under
the Election Code, which is further qualified by the recent decision Stephens, 2021 WL 5917198, at *4.
As such, OAG does not conduct independent assessments regarding voting assistance or the patterns
or frequency in which certain demographic groups utilize this option. What’s more, the State of Texas
neither requests nor records a voter’s party affiliation during the registration process. Voters instead
typically affiliate with a party by being accepted to vote in a party’s primary election. Tex. Elec. Code
§ 162.003. That affiliation then automatically expires at the end of each calendar year. Tex. Elec. Code
§ 162.010. As such, this request is not proportionate to the needs of the case. It is outside the scope


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of discovery, and it seeks information that either does not exist or is not within Defendant’s
possession, custody, or control.

        Defendant also objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated
legal action, as well as multiple Texas Legislators who have received Rule 45 subpoenas and have
requested representation. Attorneys within OAG also provide legal advice to state agencies and
lawmakers when requested. Any communications made pursuant to that representation would be
privileged.

        Additionally, in accordance with the Texas Election Code, if, after receiving or discovering
information about alleged criminal conduct in connection with an election, the Texas SOS determines
that there is reasonable cause to suspect that criminal conduct occurred, Texas SOS shall refer the
complaint to OAG for further investigation. See, e.g. § 31.006. OAG then makes decision whether or
not pursue criminal charges in conjunction with the local prosecutor. The release of non-public
information related to these files would invariably reveal the identity of suspects, witnesses, and
reporting parties, thereby compromising ongoing investigation. The release of this information also
bears the risk compromising future investigations to the extent it reveals law enforcement’s methods
and tactics for detecting and investigating election fraud offenses. Defendant therefore considers any
documents related to investigative and prosecution case files to be privileged, unduly burdensome,
and not proportional to the needs of the case.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 7: All documents and communications regarding the
number or proportion of Texas residents, Texas citizens of voting age, or Texas registered voters who
have, or lack, a driver’s license, election identification certificate, personal identification card, or social
security number, including patterns by race, ethnicity, disability status, or party affiliation from 2016
to present.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant incorporates its general objection concerning the scope
of these requests. OAG employs over 4,000 employees in 38 divisions and 117 offices around Texas,
only tiny fraction of whom have job responsibilities that relate in any way to the subject matter of this
request. In addition, Defendant objects to this request to the extent it seeks irrelevant documents
and/or communications. Defendant understands RFP No. 7 to pertain to the Private Plaintiffs’
assorted claims that Sections 5.01–5.03, 5.06–5.08, and 5.10–14 of SB1 violate federal law. See, e.g.,
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ECF 137 ¶¶ 110, 119–23. These provisions relate exclusively to mail-in voting. Yet the Private
Plaintiffs request any documents and/or communication about the number of Texans who have, or
lack, a driver’s license, election identification certificate, personal identification card, or social security
number generally. Without additional parameters, the request would require Defendant, and later
counsel, to search, identify, and review voluminous emails and documents unrelated to the underlying
controversy to determine responsiveness and privilege. The burden of conducting this examination
far exceeds the benefit. The request is therefore not proportionate to the needs of this case and goes
outside the scope of discovery.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. As explained throughout this litigation, OAG has only
limited enforcement authority under the Election Code, which is further qualified by the recent
decision Stephens, 2021 WL 5917198, at *4. As such, OAG does not conduct, as a general matter,
independent assessments regarding the number or proportion of Texans who have, or lack, the forms
of identification identified in this request; nor does it assess patterns among certain demographic
groups. What’s more, the State of Texas neither requests nor records a voter’s party affiliation during
the registration process. Voters instead typically affiliate with a party by being accepted to vote in a
party’s primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at the
end of each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate to the
needs of the case. It is outside the scope of discovery, and it seeks information that either does not
exist or is not within Defendant’s possession, custody, or control.

        Defendant also objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated
legal action, as well as multiple Texas Legislators who have received Rule 45 subpoenas and have
requested representation. Attorneys within OAG also provide legal advice to state agencies and
lawmakers when requested. Any communications made pursuant to that representation would be
privileged.

        Additionally, in accordance with the Texas Election Code, if, after receiving or discovering
information about alleged criminal conduct in connection with an election, the Texas SOS determines
that there is reasonable cause to suspect that criminal conduct occurred, Texas SOS shall refer the
complaint to OAG for further investigation. See, e.g. § 31.006. OAG then makes decision whether or
not pursue criminal charges in conjunction with the local prosecutor. The release of non-public
information related to these files would invariably reveal the identity of suspects, witnesses, and
reporting parties, thereby compromising ongoing investigation. The release of this information also
bears the risk compromising future investigations to the extent it reveals law enforcement’s methods
and tactics for detecting and investigating election fraud offenses. Defendant therefore considers any
documents related to investigative and prosecution case files to be privileged, unduly burdensome,
and not proportional to the needs of the case.



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         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 8: All documents and communications discussing actual
or alleged illegal voting, election fraud, or other criminal conduct in connection with the following
methods of voting during the period from 2016 to present:

        (a) Drop-box voting;
        (b) Drive-thru voting;
        (c) 24-hour voting;
        (d) Straight-ticket voting;
        (e) Vote-by-mail;
        (f) Early voting;
        (g) Curbside voting;
        (h) All other methods of voting.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant incorporates its general objection concerning the scope
of these requests. OAG employs over 4,000 employees in 38 divisions and 117 offices around Texas,
only tiny fraction of whom have job responsibilities that relate in any way to the subject matter of this
request. Defendant also objects to the catchall term “all other methods of voting” as not only being
vague, ambiguous, and overly broad, but also lacking specificity. Without additional parameters, the
request would require Defendant, and later counsel, to search, identify, and review voluminous emails
and documents unrelated to the underlying controversy to determine responsiveness and privilege.

         Defendant further objects to this request to the extent it calls for the production of full
investigative and prosecution case files. Since 2016, OAG has investigated hundreds of alleged
incidents of election misconduct, each of which is assigned a case file that can span thousands of
pages. Each case file contains confidential information and attorney work product interspersed
throughout, which would necessitate Defendant, and later counsel, to conduct a page-by-page, line-
by-line privilege search prior to production. In addition to this labor cost, the release of non-public
information related to these case files could have severe consequences on OAG’s ability to safeguard
the election and identify and prosecute illegal conduct. First, the release of non-public information
would reveal the identity of suspects, witnesses, and reporting parties, compromising ongoing
investigations. Second, the release of this information could reveal law enforcement’s methods and
tactics for detecting and investigating election fraud offenses, enabling offenders to evade detection.
Third, disclosure could make public vulnerabilities in the electoral process. The burden of producing
full case files thus far exceeds the benefit, especially since much of the information relevant to the
Private Plaintiffs’ claims can be obtained from OAG’s prosecution spreadsheet, which details OAG’s
resolved and pending prosecutions.


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          Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, investigative privilege, deliberative process privilege, attorney-client
privilege, attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or
protected from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R.
Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated legal action, as
well as multiple Texas Legislators who have received Rule 45 subpoenas and have requested
representation. Attorneys within OAG also provide legal advice to state agencies and lawmakers when
requested. Any communications made pursuant to that representation would be privileged. Defendant
objects to this request to the extent that it calls for the production of documents within the control
of third parties, including independent officers of the State of Texas, who may or may not be parties
to this litigation and whose documents, communications, and deliberations are not within Defendant’s
custody, possession, or control. Finally, Defendant objects to this request to the extent that it
encompasses documents publicly available or otherwise equally accessible to Plaintiffs.

        Defendant will produce OAG’s prosecution spreadsheet, which details resolved and pending
prosecutions, including the name of the defendant, location of the offense, the election involved, the
type of conduct alleged, and the charges brought.

        Defendant is continuing to conduct a diligent search for responsive documents and will
produce non-privileged documents and communications responsive to this request, if they exist and
to the extent they are not withheld based upon any of the foregoing privileges or objections, within a
reasonable time of this response. Should responsive documents subject to privilege, objection, or both,
be identified through a diligent search, this response will be supplemented to reflect that documents
are being withheld.

REQUEST FOR PRODUCTION NO. 9: All documents and communications regarding the
methods you took to secure, monitor, surveil, watch, or supervise the following methods of voting
during the period from 2016 to present:

        (a) Drive-thru voting;
        (b) 24-hour voting;
        (c) Ballot drop boxes;
        (d) Straight-ticket voting;
        (e) Vote-by-mail;
        (f) Early voting;
        (g) Curbside voting;
        (h) All other methods of voting.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
ambiguous, vague, and unduly burdensome. To that end, Defendant objects to this request to the
extent that it requires Defendant to search and examine any and all emails directed to or from an
OAG employee. OAG employs over 4,000 employees in 38 divisions and 117 offices around Texas,
only tiny fraction of whom have job responsibilities that relate in any way to the subject matter of this
request. Defendant also objects to the catchall term “all other methods of voting” as not only being
vague, ambiguous, and overly broad, but also lacking specificity. Without additional parameters, the
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request would require Defendant, and later counsel, to search, identify, and review voluminous emails
and documents unrelated to the underlying controversy to determine responsiveness and privilege.
The burden of conducting this examination thus far exceeds the benefit, especially since much of the
information Private Plaintiffs seeks is either publicly available or more readily attainable from other
parties to this litigation.

         Defendant further objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who may or may not be parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, OAG only has limited enforcement authority under
the Election Code, which is further qualified by the recent decision Stephens, 2021 WL 5917198, at *4.
As such, OAG does not, as a general matter, secure, monitor, surveil, watch, or supervise methods of
voting. It instead investigates allegations of alleged illegal conduct that it receives from Texas SOS and
other sources. OAG does not interpret RFP No. 9 as applying to its investigative and prosecution
case files. However, to the extent the request does encompass the case files, Defendant objects to the
request for the reasons stated in response to RFP No. 8 and incorporates the same objections herein.
Specifically, OAG objects that the production of documents in its case files implicate privilege, is
unduly burdensome, overly broad, and not proportional to the needs of the case, as it would
compromise ongoing and future investigations and make public vulnerabilities in the electoral process.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 10: All documents and communications regarding actual
or alleged illegal voting, election fraud, or other criminal conduct in connection with voter assistance,
including transportation assistance and vote harvesting, during the period from 2016 to present.

RESPONSE:

         Defendant objects to the request for “All documents and communications” regarding voter
assistance, as vague, unintelligible, overly broad, and unduly burdensome. Additionally, it calls for the
production of materials that are irrelevant to any challenge raised in this case. For example, Texas
Elections Code §§ 64.032, -.0321, -.033, and -.035, which were not amended by SB1, concern voting
assistance, yet those provision are not at issue in this litigation. Defendant objects that review and
production of all documents and communications regarding voter assistance, without limitation, will
necessarily require a search for and review of materials that do not bear any relationship to the issues
in this case.

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from an OAG employee. OAG
employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction of
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whom have job responsibilities that relate in any way to the subject matter of this request. In addition,
Defendant objects to this request to the extent it seeks irrelevant documents and communications.
The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks Defendant
to produce any document or communication about all types of criminal conduct connected to voter
assistance, regardless of whether that conduct was addressed by SB1. Without additional parameters,
the request would require Defendant, and later counsel, to search, identify, and review voluminous
emails and documents unrelated to the underlying controversy to determine responsiveness and
privilege.

         Defendant further objects that this request is needlessly duplicative on its face, or alternatively,
it is indecipherable. Request No. 8 seeks information on alleged illegal voting, election fraud, or other
criminal conduct, and so does this request. It is unclear how or whether this request is either broader
or narrower than Request No. 8.

         Defendant further objects to this request to the extent it calls for the production of full
investigative and prosecution case files. Since 2016, OAG has investigated hundreds of alleged
incidents of election misconduct, each of which is assigned a case file that can span thousands of
pages. Each case file contains confidential information and attorney work product interspersed
throughout, which would necessitate Defendant, and later counsel, to conduct a page-by-page, line-
by-line privilege search prior to production. In addition to this labor cost, the release of non-public
information related to these case files could have severe consequences on OAG’s ability to safeguard
the election and identify and prosecute illegal conduct. First, the release of non-public information
would reveal the identity of suspects, witnesses, and reporting parties, compromising ongoing
investigations. Second, the release of this information could reveal law enforcement’s methods and
tactics for detecting and investigating election fraud offenses, enabling offenders to evade detection.
Third, disclosure could make public vulnerabilities in the electoral process. The burden of producing
full case files thus far exceeds the benefit, especially since much of the information relevant to the
Private Plaintiffs’ claims can be obtained from OAG’s prosecution spreadsheet, which details OAG’s
resolved and pending prosecutions.

          Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, investigative privilege, deliberative process privilege, attorney-client
privilege, attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or
protected from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R.
Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated legal action, as
well as multiple Texas Legislators who have received Rule 45 subpoenas and have requested
representation. Attorneys within OAG also provide legal advice to state agencies and lawmakers when
requested. Any communications made pursuant to that representation would be privileged. Defendant
objects to this request to the extent that it calls for the production of documents within the control
of third parties, including independent officers of the State of Texas, who may or may not be parties
to this litigation and whose documents, communications, and deliberations are not within Defendant’s
custody, possession, or control. Finally, Defendant objects to this request to the extent that it
encompasses documents publicly available or otherwise equally accessible to Plaintiffs.

       Subject to and without waiving these objections, Defendant refers Plaintiffs to the documents
produced in response to RFP No. 8.



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        Defendant is continuing to conduct a diligent search for responsive documents and will
produce non-privileged documents and communications responsive to this request, if they exist and
to the extent they are not withheld based upon any of the foregoing privileges or objections, within a
reasonable time of this response. Should responsive documents subject to privilege, objection, or both,
be identified through a diligent search, this response will be supplemented to reflect that documents
are being withheld

REQUEST FOR PRODUCTION NO. 11: All documents and communications regarding
instances of violence, discrimination, harassment, intimidation, or inappropriate behavior from a
partisan poll watcher, poll worker, or election judge, during the period from 2016 to present.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
ambiguous, vague, and unduly burdensome. To that end, Defendant objects to this request to the
extent that it requires Defendant to search and examine any and all emails directed to or from an
OAG employee. OAG employs over 4,000 employees in 38 divisions and 117 offices around Texas,
only tiny fraction of whom have job responsibilities that relate in any way to the subject matter of this
request. In addition, Defendant objects to this request to the extent it seeks irrelevant documents and
communications.

        The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks
Defendant to produce any document or communication about instances of violence, discrimination,
harassment, intimidation, or inappropriate behavior from a partisan poll watcher, poll worker, or
election judge, regardless of whether that conduct was addressed by SB1. The problems with this
request are compounded by the Private Plaintiffs’ use of the catchall term “inappropriate behavior,”
which Defendant objects to as not only being vague, ambiguous, and overly broad, but also lacking
specificity. Accordingly, without additional parameters, the request would require Defendant, and later
counsel, to search, identify, and review voluminous emails and documents unrelated to the underlying
controversy to determine responsiveness and privilege.

         Defendant further objects to this request to the extent it calls for the production of full
investigative and prosecution case files. Since 2016, OAG has investigated hundreds of alleged
incidents of election misconduct, each of which is assigned a case file that can span thousands of
pages. Each case file contains confidential information and attorney work product interspersed
throughout, which would necessitate Defendant, and later counsel, to conduct a page-by-page, line-
by-line privilege search prior to production. In addition to this labor cost, the release of non-public
information related to these case files could have severe consequences on OAG’s ability to safeguard
the election and identify and prosecute illegal conduct. First, the release of non-public information
would reveal the identity of suspects, witnesses, and reporting parties, compromising ongoing
investigations. Second, the release of this information could reveal law enforcement’s methods and
tactics for detecting and investigating election fraud offenses, enabling offenders to evade detection.
Third, disclosure could make public vulnerabilities in the electoral process. The burden of producing
full case files thus far exceeds the benefit, especially since much of the information relevant to the
Private Plaintiffs’ claims can be obtained from OAG’s prosecution spreadsheet, which details OAG’s
resolved and pending prosecutions.


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          Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, investigative privilege, deliberative process privilege, attorney-client
privilege, attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or
protected from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R.
Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated legal action, as
well as multiple Texas Legislators who have received Rule 45 subpoenas and have requested
representation. Attorneys within OAG also provide legal advice to state agencies and lawmakers when
requested. Any communications made pursuant to that representation would be privileged. Defendant
objects to this request to the extent that it calls for the production of documents within the control
of third parties, including independent officers of the State of Texas, who may or may not be parties
to this litigation and whose documents, communications, and deliberations are not within Defendant’s
custody, possession, or control. Finally, Defendant objects to this request to the extent that it
encompasses documents publicly available or otherwise equally accessible to Plaintiffs.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld

REQUEST FOR PRODUCTION NO. 12: All documents and communications regarding the
purpose of forming the 2020 Ballot Fraud Intervention Team and the 2021 Texas Election Integrity
Unit of the Office of the Texas Attorney General.

RESPONSE:

         Defendant objects to this request as irrelevant. Defendants further object to the extent that
the information sought is not proportional to the needs of this case, overly broad, not reasonably
specific, and unduly burdensome. To that end, Defendant objects to this request to the extent that it
requires Defendant to search and examine any and all emails directed to or from an OAG employee.
OAG employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction
of whom have job responsibilities that relate in any way to the subject matter of this request. Without
additional parameters, the request would require Defendant, and later counsel, to search, identify, and
review voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege. The burden of conducting this examination far exceeds the benefit,
especially since much of the information Private Plaintiffs seeks is either publicly available or more
readily attainable from other parties to this litigation.

        Defendant also objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated
legal action, as well as multiple Texas Legislators who have received Rule 45 subpoenas and have
requested representation. Attorneys within OAG also provide legal advice to state agencies and
lawmakers when requested. Any communications made pursuant to that representation would be
privileged. OAG does not interpret RFP No. 12 as applying to its investigative and prosecution case
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files. However, to the extent the request does encompass the case files, Defendant objects to the
request for the reasons stated in response to RFP No. 8 and incorporates the same objections herein.
Specifically, OAG objects that the production of documents in its case files implicate privilege, is
unduly burdensome, overly broad, and not proportional to the needs of the case, as it would
compromise ongoing and future investigations and make public vulnerabilities in the electoral process.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, including independent officers of the State of Texas, who may
or may not be parties to this litigation and whose documents, communications, and deliberations are
not within Defendant’s custody, possession, or control.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld.

REQUEST FOR PRODUCTION NO. 13: All documents and communications related to voting
practices, election administration, and voter turnout in Harris County.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
vague, and unduly burdensome. To that end, Defendant objects to this request to the extent that it
requires Defendant to search and examine any and all emails directed to or from an OAG employee.
OAG employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction
of whom have job responsibilities that relate in any way to the subject matter of this request.

         In addition, as commonly understood, the terms “voting practices” and “election
administration” would encompass almost every action taken pursuant to the Election Code so long
as it concerned Harris County. The terms therefore are overly broad, vague, lack specificity, and do
not qualify or limit the Private Plaintiffs’ request in any meaningful sense. Accordingly, without
additional parameters, the request would require Defendant, and later counsel, to examine voluminous
emails and documents unrelated to the underlying controversy to determine responsiveness and
privilege. The burden of conducting this examination far exceeds the benefit since much of the
information Private Plaintiffs seeks is either publicly available or more readily attainable from other
parties to this litigation. The request is therefore not proportionate to the needs of this case and goes
outside the scope of discovery.

        Defendant also objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated
legal action, as well as multiple Texas Legislators who have received Rule 45 subpoenas and have
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requested representation. Attorneys within OAG also provide legal advice to state agencies and
lawmakers when requested. Any communications made pursuant to that representation would be
privileged. Likewise, OAG initiated or considered bringing lawsuits against Harris County for multiple
violations of the Election Code during applicable period. The case files that pertain to these legal
actions contain confidential information and attorney work product interspersed throughout. Not
only would many of the documents be privileged, but answering the request would necessitate
Defendant, and later counsel, to conduct a page-by-page, line-by-line privilege search prior to
production, which would be unduly burdensome and disproportionate to the needs of the case.

         Defendant further objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who may or may not be parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, OAG has only limited enforcement authority under
the Election Code, which is further qualified by the recent decision Stephens, 2021 WL 5917198, at *4.
As such, OAG does not conduct independent assessments regarding voter turnout; nor is it involved
in election administration generally. It instead investigates allegations of alleged illegal conduct that it
receives from Texas SOS and other sources. OAG does not interpret RFP No. 13 as applying to its
investigative and prosecution case files. However, to the extent the request does encompass the case
files, Defendant objects to the request for the reasons stated in response to RFP No. 8 and
incorporates the same objections herein. Specifically, OAG objects that the production of documents
in its case files implicate privilege, is unduly burdensome, overly broad, and not proportional to the
needs of the case, as it would compromise ongoing and future investigations and make public
vulnerabilities in the electoral process.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld

REQUEST FOR PRODUCTION NO. 14: All documents and communications related to actual
or alleged election fraud, illegal voting, and other criminal conduct relating to elections in Harris
County.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from an OAG employee. OAG
employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction of
whom have job responsibilities that relate in any way to the subject matter of this request. In addition,
Defendant objects to this request to the extent it seeks irrelevant documents and communications.
The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks Defendant
to produce any document or communication about election-related, illegal conduct in Harris County,
regardless of whether the specific conduct was addressed by SB1. Without additional parameters, the
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request would require Defendant, and later counsel, to search, identify, and review voluminous emails
and documents unrelated to the underlying controversy to determine responsiveness and privilege

        Defendant further objects that this request is needlessly duplicative and cumulative of other
requests. Request Nos. 8 and 10 seek information on alleged illegal voting, election fraud, or other
criminal conduct, and so does this request.

         Defendant further objects to this request to the extent it calls for the production of full
investigative and prosecution case files. Since 2016, OAG has investigated hundreds of alleged
incidents of election misconduct, each of which is assigned a case file that can span thousands of
pages. Each case file contains confidential information and attorney work product interspersed
throughout, which would necessitate Defendant, and later counsel, to conduct a page-by-page, line-
by-line privilege search prior to production. In addition to this labor cost, the release of non-public
information related to these case files could have severe consequences on OAG’s ability to safeguard
the election and identify and prosecute illegal conduct. First, the release of non-public information
would reveal the identity of suspects, witnesses, and reporting parties, compromising ongoing
investigations. Second, the release of this information could reveal law enforcement’s methods and
tactics for detecting and investigating election fraud offenses, enabling offenders to evade detection.
Third, disclosure could make public vulnerabilities in the electoral process. The burden of producing
full case files thus far exceeds the benefit, especially since much of the information relevant to the
Private Plaintiffs’ claims can be obtained from publicly available sources, from other parties to this
litigation, or from OAG’s prosecution spreadsheet, which details OAG’s resolved and pending
prosecutions.

        Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, investigative privilege, deliberative process privilege, attorney-client
privilege, attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or
protected from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R.
Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated legal action, as
well as multiple Texas Legislators who have received Rule 45 subpoenas and have requested
representation. Attorneys within OAG also provide legal advice to state agencies and lawmakers when
requested. Any communications made pursuant to that representation would be privileged. Likewise,
OAG initiated or considered bringing lawsuits against Harris County for multiple violations of the
Election Code during applicable period. The case files that pertain to these legal actions contain
confidential information and attorney work product interspersed throughout. Not only would many
of the documents be privileged, but answering the request would necessitate Defendant, and later
counsel, to conduct a page-by-page, line-by-line privilege search prior to production, which would be
unduly burdensome and disproportionate to the needs of the case.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, including independent officers of the State of Texas, who may
or may not be parties to this litigation and whose documents, communications, and deliberations are
not within Defendant’s custody, possession, or control.

       Subject to and without waiving these objections, Defendant refers Plaintiffs to the documents
produced in response to RFP No. 8.


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        Defendant is continuing to conduct a diligent search for responsive documents and will
produce non-privileged documents and communications responsive to this request, if they exist and
to the extent they are not withheld based upon any of the foregoing privileges or objections, within a
reasonable time of this response. Should responsive documents subject to privilege, objection, or both,
be identified through a diligent search, this response will be supplemented to reflect that documents
are being withheld

REQUEST FOR PRODUCTION NO. 15: All documents and communications related to voting
practices, election administration, and voter turnout in Bee County.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
vague, and unduly burdensome. To that end, Defendant objects to this request to the extent that it
requires Defendant to search and examine any and all emails directed to or from an OAG employee.
OAG employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction
of whom have job responsibilities that relate in any way to the subject matter of this request.

         In addition, as commonly understood, the terms “voting practices” and “election
administration” would encompass almost every action taken pursuant to the Election Code so long
as it concerned Bee County. The terms therefore are overly broad, vague, lack specificity, and do not
qualify or limit the Private Plaintiffs’ request in any meaningful sense. Accordingly, without additional
parameters, the request would require Defendant, and later counsel, to examine voluminous emails
and documents unrelated to the underlying controversy to determine responsiveness and privilege.
The burden of conducting this examination far exceeds the benefit since much of the information
Private Plaintiffs seeks is either publicly available or more readily attainable from other parties to this
litigation. The request is therefore not proportionate to the needs of this case and goes outside the
scope of discovery.

        Defendant also objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated
legal action, as well as multiple Texas Legislators who have received Rule 45 subpoenas and have
requested representation. Attorneys within OAG also provide legal advice to state agencies and
lawmakers when requested. Any communications made pursuant to that representation would be
privileged. Likewise, any files pertaining to enforcement action OAG initiated or considered initiating
against Bee County would contain confidential information and attorney work product interspersed
throughout. Not only would many of the documents be privileged, but answering the request would
necessitate Defendant, and later counsel, to conduct a page-by-page, line-by-line privilege search prior
to production, which would be unduly burdensome and disproportionate to the needs of the case.

        Defendant further objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who may or may not be parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
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control. As explained throughout this litigation, OAG has only limited enforcement authority under
the Election Code, which is further qualified by the recent decision Stephens, 2021 WL 5917198, at *4.
As such, OAG does not conduct independent assessments regarding voter turnout; nor is it involved
in election administration generally. It instead investigates allegations of alleged illegal conduct that it
receives from Texas SOS and other sources. OAG does not interpret RFP No. 13 as applying to its
investigative and prosecution case files. However, to the extent the request does encompass the case
files, Defendant objects to the request for the reasons stated in response to RFP No. 8 and
incorporates the same objections herein. Specifically, OAG objects that the production of documents
in its case files implicate privilege, is unduly burdensome, overly broad, and not proportional to the
needs of the case, as it would compromise ongoing and future investigations and make public
vulnerabilities in the electoral process.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld

REQUEST FOR PRODUCTION NO. 16: All documents and communications related to actual
or alleged election fraud, illegal voting, and other criminal conduct relating to elections in Bee County.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from an OAG employee. OAG
employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction of
whom have job responsibilities that relate in any way to the subject matter of this request. In addition,
Defendant objects to this request to the extent it seeks irrelevant documents and communications.
The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks Defendant
to produce any document or communication about election-related, illegal conduct in Bee County,
regardless of whether the specific conduct was addressed by SB1. Without additional parameters, the
request would require Defendant, and later counsel, to search, identify, and review voluminous emails
and documents unrelated to the underlying controversy to determine responsiveness and privilege

        Defendant further objects that this request is needlessly duplicative and cumulative of other
requests. Request Nos. 8, 10 and 14 seek information on alleged illegal voting, election fraud, or other
criminal conduct, and so does this request. While Request No. 14 is limited to Harris County, and
thus is not explicitly duplicative, Request Nos. 8 and 10 are.

        Defendant further objects to this request to the extent it calls for the production of full
investigative and prosecution case files. Since 2016, OAG has investigated hundreds of alleged
incidents of election misconduct, each of which is assigned a case file that can span thousands of
pages. Each case file contains confidential information and attorney work product interspersed
throughout, which would necessitate Defendant, and later counsel, to conduct a page-by-page, line-
by-line privilege search prior to production. In addition to this labor cost, the release of non-public
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information related to these case files could have severe consequences on OAG’s ability to safeguard
the election and identify and prosecute illegal conduct. First, the release of non-public information
would reveal the identity of suspects, witnesses, and reporting parties, compromising ongoing
investigations. Second, the release of this information could reveal law enforcement’s methods and
tactics for detecting and investigating election fraud offenses, enabling offenders to evade detection.
Third, disclosure could make public vulnerabilities in the electoral process. The burden of producing
full case files thus far exceeds the benefit, especially since much of the information relevant to the
Private Plaintiffs’ claims can be obtained from publicly available sources, from other parties to this
litigation, or from OAG’s prosecution spreadsheet, which details OAG’s resolved and pending
prosecutions.

        Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, investigative privilege, deliberative process privilege, attorney-client
privilege, attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or
protected from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R.
Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated legal action, as
well as multiple Texas Legislators who have received Rule 45 subpoenas and have requested
representation. Attorneys within OAG also provide legal advice to state agencies and lawmakers when
requested. Any communications made pursuant to that representation would be privileged. Likewise,
any files pertaining to an enforcement action OAG initiated or considered initiating against Bee
County would contain confidential information and attorney work product interspersed throughout.
Not only would many of the documents be privileged, but answering the request would necessitate
Defendant, and later counsel, to conduct a page-by-page, line-by-line privilege search prior to
production, which would be unduly burdensome and disproportionate to the needs of the case.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, including independent officers of the State of Texas, who may
or may not be parties to this litigation and whose documents, communications, and deliberations are
not within Defendant’s custody, possession, or control.

       Subject to and without waiving these objections, Defendant refers Plaintiffs to the documents
produced in response to RFP No. 8.

        Defendant is continuing to conduct a diligent search for responsive documents and will
produce non-privileged documents and communications responsive to this request, if they exist and
to the extent they are not withheld based upon any of the foregoing privileges or objections, within a
reasonable time of this response. Should responsive documents subject to privilege, objection, or both,
be identified through a diligent search, this response will be supplemented to reflect that documents
are being withheld

REQUEST FOR PRODUCTION NO. 17: All documents and communications related to voting
practices, election administration, and voter turnout in Bexar County.

RESPONSE:



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        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific,
vague, and unduly burdensome. To that end, Defendant objects to this request to the extent that it
requires Defendant to search and examine any and all emails directed to or from an OAG employee.
OAG employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction
of whom have job responsibilities that relate in any way to the subject matter of this request. In
addition, as commonly understood, the terms “voting practices” and “election administration” would
encompass almost every action taken pursuant to the Election Code so long as it concerned Bexar
County. The terms therefore are overly broad, vague, lack specificity, and do not qualify or limit the
Private Plaintiffs’ request in any meaningful sense. Accordingly, without additional parameters, the
request would require Defendant, and later counsel, to examine voluminous emails and documents
unrelated to the underlying controversy to determine responsiveness and privilege. The burden of
conducting this examination far exceeds the benefit since much of the information Private Plaintiffs
seeks is either publicly available or more readily attainable from other parties to this litigation. The
request is therefore not proportionate to the needs of this case and goes outside the scope of discovery.

        Defendant also objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated
legal action, as well as multiple Texas Legislators who have received Rule 45 subpoenas and have
requested representation. Attorneys within OAG also provide legal advice to state agencies and
lawmakers when requested. Any communications made pursuant to that representation would be
privileged. Likewise, any files pertaining to enforcement action OAG initiated or considered initiating
against Bexar County would contain confidential information and attorney work product interspersed
throughout. Not only would many of the documents be privileged, but answering the request would
necessitate Defendant, and later counsel, to conduct a page-by-page, line-by-line privilege search prior
to production, which would be unduly burdensome and disproportionate to the needs of the case.

         Defendant further objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, who may or may not be parties to this litigation and whose
documents, communications, and deliberations are not within Defendant’s custody, possession, or
control. As explained throughout this litigation, OAG has only limited enforcement authority under
the Election Code, which is further qualified by the recent decision Stephens, 2021 WL 5917198, at *4.
As such, OAG does not conduct independent assessments regarding voter turnout; nor is it involved
in election administration generally. It instead investigates allegations of alleged illegal conduct that it
receives from Texas SOS and other sources. OAG does not interpret RFP No. 13 as applying to its
investigative and prosecution case files. However, to the extent the request does encompass the case
files, Defendant objects to the request for the reasons stated in response to RFP No. 8 and
incorporates the same objections herein. Specifically, OAG objects that the production of documents
in its case files implicate privilege, is unduly burdensome, overly broad, and not proportional to the
needs of the case, as it would compromise ongoing and future investigations and make public
vulnerabilities in the electoral process.

        Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
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they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld

REQUEST FOR PRODUCTION NO. 18: All documents and communications related to actual
or alleged election fraud, illegal voting, and other criminal conduct relating to elections in Bexar
County.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from an OAG employee. OAG
employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction of
whom have job responsibilities that relate in any way to the subject matter of this request. In addition,
Defendant objects to this request to the extent it seeks irrelevant documents and communications.
The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks Defendant
to produce any document or communication about election-related, illegal conduct in Bexar County,
regardless of whether the specific conduct was addressed by SB1. Without additional parameters, the
request would require Defendant, and later counsel, to search, identify, and review voluminous emails
and documents unrelated to the underlying controversy to determine responsiveness and privilege

         Defendant further objects to this request to the extent it calls for the production of full
investigative and prosecution case files. Since 2016, OAG has investigated hundreds of alleged
incidents of election misconduct, each of which is assigned a case file that can span thousands of
pages. Each case file contains confidential information and attorney work product interspersed
throughout, which would necessitate Defendant, and later counsel, to conduct a page-by-page, line-
by-line privilege search prior to production. In addition to this labor cost, the release of non-public
information related to these case files could have severe consequences on OAG’s ability to safeguard
the election and identify and prosecute illegal conduct. First, the release of non-public information
would reveal the identity of suspects, witnesses, and reporting parties, compromising ongoing
investigations. Second, the release of this information could reveal law enforcement’s methods and
tactics for detecting and investigating election fraud offenses, enabling offenders to evade detection.
Third, disclosure could make public vulnerabilities in the electoral process. The burden of producing
full case files thus far exceeds the benefit, especially since much of the information relevant to the
Private Plaintiffs’ claims can be obtained from publicly available sources, from other parties to this
litigation, or from OAG’s prosecution spreadsheet, which details OAG’s resolved and pending
prosecutions.

        Defendant further objects that this request is needlessly duplicative and cumulative of other
requests. Request Nos. 8, 10, 14, and 16 seek information on alleged illegal voting, election fraud, or
other criminal conduct, and so does this request. While Request Nos. 14 and 16 are limited to
particular counties, and thus is not explicitly duplicative, Request Nos. 8 and 10 are.

        Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, investigative privilege, deliberative process privilege, attorney-client
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privilege, attorney opinion work-product privilege, ordinary attorney work-product privilege, and/or
protected from disclosure by Texas Government Code § 323.017, which is privileged under Fed. R.
Evid. 501. Attorneys within OAG represents the State Defendants in this consolidated legal action, as
well as multiple Texas Legislators who have received Rule 45 subpoenas and have requested
representation. Attorneys within OAG also provide legal advice to state agencies and lawmakers when
requested. Any communications made pursuant to that representation would be privileged. Likewise,
any files pertaining to an enforcement action OAG initiated or considered initiating against Bexar
County would contain confidential information and attorney work product interspersed throughout.
Not only would many of the documents be privileged, but answering the request would necessitate
Defendant, and later counsel, to conduct a page-by-page, line-by-line privilege search prior to
production, which would be unduly burdensome and disproportionate to the needs of the case.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents that are publicly available or otherwise equally accessible to the Private Plaintiffs or that
are within the control of third parties, including independent officers of the State of Texas, who may
or may not be parties to this litigation and whose documents, communications, and deliberations are
not within Defendant’s custody, possession, or control.

        Defendant refers Plaintiffs to the documents produced in response to RFP No. 8.

        Defendant is continuing to conduct a diligent search for responsive documents and will
produce non-privileged documents and communications responsive to this request, if they exist and
to the extent they are not withheld based upon any of the foregoing privileges or objections, within a
reasonable time of this response. Should responsive documents subject to privilege, objection, or both,
be identified through a diligent search, this response will be supplemented to reflect that documents
are being withheld.

REQUEST FOR PRODUCTION NO. 19: All communications between you and the Texas
Legislature regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding the impacts
or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic minorities, disabled persons,
and on voters by party affiliation.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from an OAG employee. OAG
employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction of
whom have job responsibilities that relate in any way to the subject matter of this request.

        In addition, Defendant objects to this request to the extent it seeks irrelevant communications
between OAG and the Legislature. The Private Plaintiffs only challenge a limited set of provisions in
SB1, yet the request asks OAG to produce any communication OAG had with lawmakers on SB1,
SB7, HB3, and HB6 regardless of whether the subject of that communication bears on the issues
raised in Private Plaintiffs’ legal action. Without additional parameters, the request would require
Defendant, and later counsel, to search, identify, and review voluminous emails and documents
unrelated to the underlying controversy to determine responsiveness and privilege.
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         The burden of conducting this examination far exceeds the benefit, especially since the Private
Plaintiffs indicate in the request that their inquiry is directed at a much narrower subset of information:
impacts or potential impacts of SB1, SB7, HB3, and HB6 on certain demographic groups.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. As explained throughout this litigation, OAG has only
limited enforcement authority under the Election Code, which is further qualified by the recent
decision Stephens, 2021 WL 5917198, at *4. As such, OAG does not conduct independent assessments
regarding the impact or potential impact of enacted or proposed legislation on specific demographics.
What’s more, the State of Texas neither requests nor records a voter’s party affiliation during the
registration process. Voters instead typically affiliate with a party by being accepted to vote in a party’s
primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of
each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs
of the case. It is outside the scope of discovery, and it seeks information that either does not exist or
is not within Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represent State Defendants in this consolidated legal
action, as well as multiple Texas Legislators who have received Rule 45 subpoenas and have requested
representation. Attorneys within OAG also provide legal advice to state agencies and lawmakers when
requested. Any communications made pursuant to that representation would be privileged.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld

REQUEST FOR PRODUCTION NO. 20: All communications between you and the Texas
Governor regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding the impacts or
potential impacts of SB 1 on racial or ethnic minorities, disabled voters, and voters by party affiliation.

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from an OAG employee. OAG
employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction of
whom have job responsibilities that relate in any way to the subject matter of this request. In addition,
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Defendant objects to this request to the extent it seeks irrelevant communications between OAG and
the Governor. The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the request
asks OAG to produce any communication OAG had with the Governor on SB1, SB7, HB3, and HB6
regardless of whether the subject of that communication bears on the issues raised in Private Plaintiffs’
legal action. Without additional parameters, the request would require Defendant, and later counsel,
to search, identify, and review voluminous emails and documents unrelated to the underlying
controversy to determine responsiveness and privilege. The burden of conducting this examination
far exceeds the benefit, especially since the Private Plaintiffs indicate in the request that their inquiry
is directed at a much narrower subset of information: impacts or potential impacts of SB1, SB7, HB3,
and HB6 on certain demographic groups.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. As explained throughout this litigation, OAG has only
limited enforcement authority under the Election Code, which is further qualified by the recent
decision Stephens, 2021 WL 5917198, at *4. As such, OAG does not conduct independent assessments
regarding the impact or potential impact of enacted or proposed legislation on specific demographics.
What’s more, the State of Texas neither requests nor records a voter’s party affiliation during the
registration process. Voters instead typically affiliate with a party by being accepted to vote in a party’s
primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of
each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs
of the case. It is outside the scope of discovery, and it seeks information that either does not exist or
is not within Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represents State Defendants, including the Texas
Governor, in this consolidated legal action, as well as multiple Texas Legislators who have received
Rule 45 subpoenas and have requested representation. Attorneys within OAG also provide legal
advice to state agencies and lawmakers when requested. Any communications made pursuant to that
representation would be privileged.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld

REQUEST FOR PRODUCTION NO. 21: All communications between you and the Texas
Lieutenant Governor regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding the
impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic minorities and disabled
voters, and on voters by party affiliation.


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RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from an OAG employee. OAG
employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction of
whom have job responsibilities that relate in any way to the subject matter of this request. In addition,
Defendant objects to this request to the extent it seeks irrelevant communications between OAG and
the Lieutenant Governor.

         The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the request asks
OAG to produce any communication OAG had with the Lieutenant Governor on SB1, SB7, HB3,
and HB6 regardless of whether the subject of that communication bears on the issues raised in Private
Plaintiffs’ legal action. Without additional parameters, the request would require Defendant, and later
counsel, to search, identify, and review voluminous emails and documents unrelated to the underlying
controversy to determine responsiveness and privilege. The burden of conducting this examination
far exceeds the benefit, especially since the Private Plaintiffs indicate in the request that their inquiry
is directed at a much narrower subset of information: impacts or potential impacts of SB1, SB7, HB3,
and HB6 on certain demographic groups.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. As explained throughout this litigation, OAG has only
limited enforcement authority under the Election Code, which is further qualified by the recent
decision Stephens, 2021 WL 5917198, at *4. As such, OAG does not conduct independent assessments
regarding the impact or potential impact of enacted or proposed legislation on specific demographics.
What’s more, the State of Texas neither requests nor records a voter’s party affiliation during the
registration process. Voters instead typically affiliate with a party by being accepted to vote in a party’s
primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of
each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs
of the case. It is outside the scope of discovery, and it seeks information that either does not exist or
is not within Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG provide legal advice to state agencies and lawmakers
when requested. Any communications made pursuant to that representation would be privileged.

        Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be


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identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld

REQUEST FOR PRODUCTION NO. 22: All communications between you and the Texas
Secretary of State regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding the
impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic minorities and disabled
voters, and on voters by party affiliation.

RESPONSE:

         Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from an OAG employee. OAG
employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction of
whom have job responsibilities that relate in any way to the subject matter of this request. In addition,
Defendant objects to this request to the extent it seeks irrelevant communications between OAG and
Texas SOS. The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the request
asks OAG to produce any communication OAG had with Texas SOS on SB1, SB7, HB3, and HB6
regardless of whether the subject of that communication bears on the issues raised in Private Plaintiffs’
legal action. Without additional parameters, the request would require Defendant, and later counsel,
to search, identify, and review voluminous emails and documents unrelated to the underlying
controversy to determine responsiveness and privilege. The burden of conducting this examination
far exceeds the benefit, especially since the Private Plaintiffs indicate in the request that their inquiry
is directed at a much narrower subset of information: impacts or potential impacts of SB1, SB7, HB3,
and HB6 on certain demographic groups.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. As explained throughout this litigation, OAG has only
limited enforcement authority under the Election Code, which is further qualified by the recent
decision Stephens, 2021 WL 5917198, at *4. As such, OAG does not conduct independent assessments
regarding the impact or potential impact of enacted or proposed legislation on specific demographics.
What’s more, the State of Texas neither requests nor records a voter’s party affiliation during the
registration process. Voters instead typically affiliate with a party by being accepted to vote in a party’s
primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of
each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs
of the case. It is outside the scope of discovery, and it seeks information that either does not exist or
is not within Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. Attorneys within OAG represents State Defendants, including the Texas
SOS, in this consolidated legal action, as well as multiple Texas Legislators who have received Rule 45
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subpoenas and have requested representation. Attorneys within OAG also provide legal advice to
state agencies and lawmakers when requested. Any communications made pursuant to that
representation would be privileged.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld

REQUEST FOR PRODUCTION NO. 23: All documents and communications between you and
local election officials regarding SB 1, SB 7, HB 3, and HB 6, including communications regarding the
impacts or potential impacts of SB 1, SB 7, HB 3, and HB 6 on racial or ethnic minorities and disabled
voters, and on voters by party affiliation.

RESPONSE:

         Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from an OAG employee. OAG
employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction of
whom have job responsibilities that relate in any way to the subject matter of this request. In addition,
Defendant objects to this request to the extent it seeks irrelevant communications between OAG and
local election officials. The Private Plaintiffs only challenge a limited set of provisions in SB1, yet the
request asks OAG to produce any communication OAG had with local election officials on SB1, SB7,
HB3, and HB6 regardless of whether the subject of that communication bears on the issues raised in
Private Plaintiffs’ legal action. Without additional parameters, the request would require Defendant,
and later counsel, to search, identify, and review voluminous emails and documents unrelated to the
underlying controversy to determine responsiveness and privilege. The burden of conducting this
examination far exceeds the benefit, especially since the Private Plaintiffs indicate in the request that
their inquiry is directed at a much narrower subset of information: impacts or potential impacts of
SB1, SB7, HB3, and HB6 on certain demographic groups.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. As explained throughout this litigation, OAG has only
limited enforcement authority under the Election Code, which is further qualified by the recent
decision Stephens, 2021 WL 5917198, at *4. As such, OAG does not conduct independent assessments
regarding the impact or potential impact of enacted or proposed legislation on specific demographics.
What’s more, the State of Texas neither requests nor records a voter’s party affiliation during the
registration process. Voters instead typically affiliate with a party by being accepted to vote in a party’s
primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of
each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs


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of the case. It is outside the scope of discovery, and it seeks information that either does not exist or
is not within Defendant’s possession, custody, or control.

         Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, attorney opinion work-product privilege, ordinary attorney work-product
privilege, and/or protected from disclosure by Texas Government Code § 323.017, which is privileged
under Fed. R. Evid. 501. In particular, any files pertaining to investigation or enforcement action
initiated by OAG would contain confidential information and attorney work product interspersed
throughout. Not only would many of the documents be privileged, but answering the request would
necessitate Defendant, and later counsel, to conduct a page-by-page, line-by-line privilege search prior
to production. The disclosure of non-public information would also compromise ongoing and future
investigations and expose vulnerabilities in the electoral process. The burden of producing these files
thus far exceeds the benefit and is disproportionate to the needs of the case.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld

REQUEST FOR PRODUCTION NO. 24: All communications between you and the following
third-party organizations, including any of their affiliates or subsidiaries, regarding SB 1, SB 7, HB 3,
and HB 6, including communications regarding the impacts or potential impacts of SB 1 on racial or
ethnic minorities and disabled voters, and on voters by party affiliation:

        (a) The Heritage Foundation
        (b) The Texas Public Policy Foundation
        (c) The American Legislative Exchange Council
        (d) The State Policy Network
        (e) Honest Elections Project
        (f) Public Interest Legal Foundation
        (g) American Civil Rights Union
        (h) Project Veritas
        (i) The Republican National Committee

RESPONSE:

        Defendant objects to this request to the extent that the information sought is not proportional
to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably specific, and
unduly burdensome. To that end, Defendant objects to this request to the extent that it requires
Defendant to search and examine any and all emails directed to or from an OAG employee. OAG
employs over 4,000 employees in 38 divisions and 117 offices around Texas, only tiny fraction of
whom have job responsibilities that relate in any way to the subject matter of this request. In addition,
Defendant objects to this request to the extent it seeks irrelevant communications between OAG and
any of the listed third-party organizations. The Private Plaintiffs only challenge a limited set of
provisions in SB1, yet the request asks OAG to produce any communication OAG had with the third-
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party organizations on SB1, SB7, HB3, and HB6 regardless of whether the subject of that
communication bears on the issues raised in Private Plaintiffs’ legal action. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege. The burden of conducting this examination far exceeds the benefit,
especially since the Private Plaintiffs indicate in the request that their inquiry is directed at a much
narrower subset of information: impacts or potential impacts of SB1, SB7, HB3, and HB6 on certain
demographic groups.

         Defendant objects to this request to the extent that it calls for the production of documents
that are publicly available or otherwise equally accessible to the Private Plaintiffs or that are within the
control of third parties, including independent officers of the State of Texas, who may or may not be
parties to this litigation and whose documents, communications, and deliberations are not within
Defendant’s custody, possession, or control. As explained throughout this litigation, OAG has only
limited enforcement authority under the Election Code, which is further qualified by the recent
decision Stephens, 2021 WL 5917198, at *4. As such, OAG does not conduct independent assessments
regarding the impact or potential impact of enacted or proposed legislation on specific demographics.
What’s more, the State of Texas neither requests nor records a voter’s party affiliation during the
registration process. Voters instead typically affiliate with a party by being accepted to vote in a party’s
primary election. Tex. Elec. Code § 162.003. That affiliation then automatically expires at the end of
each calendar year. Tex. Elec. Code § 162.010. As such, this request is not proportionate to the needs
of the case. It is outside the scope of discovery, and it seeks information that either does not exist or
is not within Defendant’s possession, custody, or control.

        Finally, Defendant objects to this request to the extent that it calls for the production of
documents subject to legislative privilege, investigative privilege, deliberative process privilege,
attorney-client privilege, common interest privilege, attorney opinion work-product privilege, ordinary
attorney work-product privilege, and/or protected from disclosure by Texas Government Code §
323.017, which is privileged under Fed. R. Evid. 501. Attorneys within OAG represents State
Defendants in this consolidated legal action, as well as multiple Texas Legislators who have received
Rule 45 subpoenas and have requested representation. The Texas Public Policy Foundation,
meanwhile, represents Medina County, which was named one of the county defendants when this
consolidated action started. Any communications made to Medina County’s counsel pursuant to
OAG’s common interest, including strategy and common defenses, would be privileged.

         Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request, if they exist and to the extent
they are not withheld based upon any of the foregoing privileges or objections, within a reasonable
time of this response. Should responsive documents subject to privilege, objection, or both, be
identified through a diligent search, this response will be supplemented to reflect that documents are
being withheld




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